EXHIBIT B
                                                                                                                       Addttional Period:  NJA month(s)
                                                                                                                       Addltlonal Premium: $0.00
                               ~} Arch I Insurance                                                         Item 6,     Notices to Insurer:

                                   ARCH INSURANCE COMPANY                                                                   Notices Of Claim(s) To Be Sen!To:               All Other Notices To Be Sent To:
                                       (A Missouri Corporatlon)                                                                 Arch Insurance Company                      Arch Insurance Company
Home Office Address:                                                             Administrative Address:                      Executive Assurance Claims                 Executive Assurance Underwriting
                                                                                                                             1299 Farnam Street, Suite 500                 One Liberty Plaza, 53rd Floor
2345 Grand Blvd, Suite 900                                                       311 South Wacker Drive
                                                                                                                                   Omaha, NE 68102                            New York, NY 10006
Kansas City, MO 64108                                                                         Sutte 3700
                                                                                                                                    P.O. Box 542033                            Fax: (212) 65Hl499
                                                                                      Chicago, IL 60606
                                                                                                                                   Omaha, NE 68154
                                                                                     Tel: (312) 601-8408
                                                                                                                             Phone: 877 688-ARCH (2724)
                                                                                                                                   Fax: 866 266-3630
                                                                                                                          E-mail: Claims@Archlnsurance.com
                                                                                                           Item   7.   Policy Premium:                                                                $145,000.00
                          ARCH ESSENTIAL EXCESS POLICY®                                                                Premium attributable to Terrorism Risk Insurance:                                    $0.00
                  FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY                                                        Included In Policy Premium
                                                                                                                       In Addition To Policy Premium
  THIS POLICY APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE                            Items.      Endorsements:     See attached schedule of endorsements and notices.
                                  POLICY PERIOD.

                                            DECLARATIONS

Polley No.: DOX 9300349-02

Item 1.     Named Insured &Address:
            JOY GLOBAL INC.
            100 EAST WISCONSIN AVENUE
            MILWAUKEE, WI 53202

 Item 2.    Polley Period:
            From: July 31, 2016
            To:     July 31, 2017
            12:01 a.m. local time at the address stated in Item 1

 Item 3.     Limit of Liability:        $10,000,000
                                      Excess Of $10,000,000
 Item 4.     Underlying Insurance:

    Primary Policy

 Insurer:                                    Policy No.:            Limit of Liability:   Attachment:

 Columbia Casualty Company                   287049801                    $10,000,000



 Underlying
 Excess Policies

 Items.      Extended Reporting Period:




 05 DOX0205 00 10 09                                                                          Page 1 of2   05 DOX0205 00 10 09                                                                          Page2 of2




                                                                                                                                                                                              EXHIBIT
                                                                                                                                                                                                      B
                       SCHEDULE OF FORMS AND ENDORSEMENTS

NAMED INSURED: JOY GLOBAL INC.                 TERM: July 31, 2016   to July 31, 2017
                                                                                                                1~ Arch I Insurance
POLICY NUMBER: DOX 9300349--02


                                                                                                                        Signature Page


ENDT. NO.      I FORM   NO.            TITLE                                               IN WITNESS WHEREOF, Arch Insurance Company has caused this policy to be
                05 DOX0205 00 10 09    ARCH ESSENTIAL EXCESS POLICY DECLARATIONS           executed and attested.
                05 ML0002 00 12 14     SIGNATURE PAGE (ARCH INSURANCE}

                00 DOX0204 00 10 09    ARCH ESSENTIAL EXCESS POLICY

    1           00 ME0426 00 04 10     EXTENDED REPORTING PERIOD OPTIONS

                00 ML0065 00 06 07     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                       ASSETS CONTROL ("OFAC"}
                00 MLT0027 00 0115     TERRORISM COVERAGE DISCLOSURE NOTICE


                                                                                           John Men1z                                     Patrick Nalls
                                                                                           President                                      Secretary




  00 ML0012 00 01 03                                                         Page 1 of 1   05 ML0002 00 12 14                                              Page 1 of 1
                              ARCH ESSENTIAL EXCESS®                                                              the Insurer shall pay under this Policy for all covered Loss, including, without limitation, defense
                                                                                                                  costs.
               FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY                                                 5.   DUTIES IN THE EVENT OF A CLAIM

In consideration of the payment of the premium and in reliance upon the Application, the Insurer                  The Insureds shall give notice to the Insurer of any Claim or potential Claim In conformance with
specified in the Declarations (the "Insurer") and the Insureds agree as follows:                                  the notice provisions of the Primary Policy except that such notice shall be delivered lo the
                                                                                                                  address specified In Item 6 of the Declarations. The Insurer shall have the right to parlicipate in
1.   INSURING AGREEMENT                                                                                           the investigation, settlement and defense of any Claim noticed under this Policy, even if the
                                                                                                                  Underlying Limit has not been exhausted. The Insureds shall give the Insurer all Information
     This Policy provides excess coverage after exhaustion of the Underlying Limit. Except as                     and cooperation as the Insurer may reasonably request.
     otherwise provided in this Policy, coverage under this Policy shall follow form to, and apply in
     conformance with, the provisions of the Primary Policy as of the inception of this Policy.              6.   EXTENDED REPORTING PERIOD
     Notwithstanding the foregoing, this Policy shall provide no broader coverage than the most
     restrictive policy of Underlying Insurance.                                                                  If the Insureds elect and are granted an extended reporting period or discovery period under all
                                                                                                                  Underlying Insurance, then the Insureds shall also be entitled to eleci an extended reporting
2.    EXHAUSTION OF THE UNDERLYING LIMIT                                                                          period under this Policy. Such extended reporting period shall follow form to, and apply in
                                                                                                                  conformance with, the provisions of the Primary Policy provided that the premium and duration of
      A.   The Underlying Limit shall be exhausted by payment, In legal currency, of covered Loss by              such extended reporting period shall be as specified In Item 5 of the Declaratlons.
           the insurers of Underlying Insurance, the Insureds, or any DIC Insurer.
                                                                                                             7.   MAINTENANCE OF UNDERLYING INSURANCE
      B.   If this Policy becomes primary insurance because of the exhaustion of the Underlying
           Limit, the applicable deductible or retention of the Primary Policy shall apply to each Claim          All Underlying Insurance shall be maintained In full effeci. Failure to maintain any Underlying
           handled by the Insurer on a primary insurance basis. No deductible or retention shall apply            Insurance shall: (i) result in the Insureds becoming self-insured for the limlt of liabillty of any such
           to any Claim handled by the Insurer on an excess insurance basis.                                      Underlying Insurance; and (ii) not relieve the Insurer of any obligation under this Policy.

      C.    If eny policy of Underlying Insurance grants any coverage subject to a sub-limit of liability,   8.   CHANGES
            this Policy shall not offer such coverage. However, this Policy shall recognize any reduction
            of the Underlytng Limit by any payment under such coverage.                                           This Policy shall not be changed or assigned in any manner except by written agreement of the
                                                                                                                  Insurer.
3.    DEFINITIONS

      Whether used In the singular or plural, the following terms shall have the meanings specified
      below:

      A.    "Application", "Claim", and "Loss" shall have the same meaning specified for such terms
            in the Primary Policy.

      B.    "DIC Insurer" means any Insurer of an Insurance policy written spec!flcally excess of this
            Policy that Is contractually obligated to drop down and pay covered Loss that is not paid by
            any Underlying Insurance. This Policy does not follow form to the provisions of the policy
            of such DIC Insurer.

      C.    "Insureds" means all persons and entitles entitled to coverage under the Primary Policy.

      D.    "Primary Polley" and any "Underlying Excess Policies" are identified in Item 4 of the
            Declarations.

      E.    "Underlying Insurance" means the Primary Policy and any Undertying Excess Policies.

      F.    "Underlying Limit" means the aggregate sum of all limits of liability of all Underlytng
            Insurance.

4.    LIMIT OF LIABILITY

      The Umlt of Llablilly specified In Item 3 of the Declarations Is the maximum aggregate amount that



00 DOX0204 00 10 09                                                                             Page 1 of2   00 DOX0204 00 10 09                                                                               Page 2 of2
                                                                                                                U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                                            ASSETS CONTROL ("OFAC")
                          EXTENDED REPORTING PERIOD OPTIONS                                                            ADVISORY NOTICE TO POLICYHOLDERS
It is agreed that Item 5. of the Declarations is deleted and replaced by:
                                                                                                             No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your poli-
Item 5. Extended Reporting Period Options:                                                                   cy. You should read your policy and review your Declarations page for complete Information on the coverages
                                                                                                             you are provided.
        Additional Period:        72 month(s)
        Additional Premium:       100% of the annual premium                                                 This Notice provides information concerning possible impact on your insurance coverage due to directives issued
                                                                                                             by OFAC. Please read this Notice carefully.
All other terms and conditions of this Policy remain unchanged.
                                                                                                             The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
Endorsement Number: 1                                                                                        declarations of'national emergency". OFAC has identified and listed numerous:
Policy Number: DOX 9300349-02                                                                                    • Foreign agents;
Named Insured: JOY GLOBAL INC.                                                                                   • Front organizations;

This endorsement is effective on the inception date of this Policy unless otherwise stated herein:               • Terrorists:
                                                                                                                 • Terrortst organizations; and
Endorsement Effective Date: July 31, 2016
                                                                                                                 • Narcotics traffickers;
                                                                                                             as "Specially Designated Nationals and Blocked Persons•. This list can be located on the United States
                                                                                                             Treasury's web s~e - http//www.treas.gov/ofac.

                                                                                                             In accordance with OFAC regulations, if it Is determined that you or any other insured, or any person or entity
                                                                                                             claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
                                                                                                             Blocked Person, as Identified by OFAC, this insurance will be considered a blocked or frozen contract and all pro-
                                                                                                             visions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a
                                                                                                             blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
                                                                                                             Other lim~tions on the premiums and payments also apply.




00 ME0426 00 04 10                                                                             Page 1 of 1   00 ML0065 00 06 07                   Includes copyrighted material of Insurance Services               Page 1 of 1
00 ML0207 00 11 03                                                                                                                                         Office, Inc. with its permission.
               TERRORISM COVERAGE DISCLOSURE NOTICE
                              TERRORISM COVERAGE PROVIDED UNDER THIS POLICY

The Terrorism Risk Insurance Act of 2002 as amended and extended by the Terrorism Risk Insurance Program
Reauthorization Act of 2015 (collectively referred to as the "Act") established a program within the Department of the
Treasury, under which the federal government shares, with the insurance industry, the risk of loss from Mure terrorist
attacks. An act of terrorism is defined as any act certified by the Secretary of the Treasury, in consultation with the
Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism; to be a violent
act or an act that is dangerous to human life, property or infrastructure; to have resulted in damage within the United
States, or outside the United States in the case of an air carrier or vessel or the premises of a United States Mission; and
to have been committed by an Individual or individuals as part of an effort to coerce the civilian population of the United
States or to Influence the policy or affect the conduct of the United States Government by coercion.
In accordance with the Act, we are required to offer you coverage for losses resulting from an act of terrorism that Is
certified under the federal program as an act of terrorism. The policy's other provisions will still apply to such an
act. Your decision is needed on this question: do you choose to pay the premium for terrorism coverage stated in this
offer of coverage, or do you reject the offer of coverage and not pay the premium? You may accept or reject this offer.
If your policy provides commercial property coverage, In certain states, statutes or regulations may require coverage for
fire following an act of terrorism. In those states, if terrorism results in fire, we will pay for the loss or damage caused by
that fire, subject to all applicable policy provisions including the Limit of Insurance on the affected property. Such
coverage for fire applies only to direct loss or damage by fire to Covered Property. Therefore, for example, the coverage
does not apply to Insurance provided under Business Income and/or Extra Expense coverage forms or endorsements that
apply to those coverage forms, or to Legal Llabllity coverage forms or Leasehold Interest coverage forms.
Your premium will Include the additional premium for terrorism as stated In the section of this Notice tltled
DISCLOSURE OF PREMIUM.
               DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% In 2015, 84% In 2016, 83% In 2017, 82% In 2018, 81 % In 2019, and 80% In
2020 of that portion of the amount of such lnsurad losses that exceeds the applicable Insurer deductible during
Calendar Year 2015 and each Calendar Year theraaflerthrough 2020.
                                     DISCLOSURE OF CAP ON ANNUAL LIABILITY
If the aggregate insured terrorism losses of all insurers exceed $100,000,000,000 during any Calendar Year provided in
the Act, the Secretary of the Treasury shall not make any payments for any portion of the amount of such losses that
exceed $100,000,000,000, and ifwe have met our Insurer deductible, we shall not be liable for the payment of any portion
of such losses that exceeds $100,000,000,000.
                                               DISCLOSURE OF PREMIUM
Your premium for terrorism coverage is: $0.00
This charge/amount Is applied to obtain the final premium.)
You may choose to reject the offer by signing the statement below and returning It to us. Your policy will be
changed to exclude the described coverage. If you chose to accept this offer, this form does not have to be returned.

                                                REJECTION STATEMENT
     I hereby decline to purchase coverage for certified acts of terrorism. I understand that an exclusion of certain ,
     terrorism losses will be made part of this policy.                                                               .
                                                                                                                          1

                                                                   JOY GLOBAL INC.

        Policyholder/Legal Representative/Applicant's                                 Named Insured
                         Signature

                                                                   Arch Insurance Company

               Print Name of Policyholder/Legal                                     Insurance Company
                   Representative /Applicant

     Date:                                                         Policy Number. DOX 9300349-02




00 MLT0027 00 0115                                                                                                  Page 1 of 1
